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UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division                  Brownsville                  Case Number            1:18-cv-00068

                                          State of Texas, et al.

                                                    versus

                                              Nielsen, et al.



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 Name of party applicant seeks to                                  All Defendants
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:                         Signed:
             5/4/2018                                          /s/ Jeffrey S. Robins


 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                             United States District Judge
